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UNITED STATES 'DISTRI.CT COURT _
for the ’ ’
Disn'icr of’°Ncw Mcxico b

 

Unitecl Stntc.»s nl`Americn

V.
Robert Haack C.ase No» CR: 13-928 N\_V

l)¢'/E'mlrmt

OR`DER ;SETT|`NG CONUIT[ONS OF RE\LEASE

IT IS ORDERED that the 'dct`endajnt's release is subject to these conditions:

(l) The defendant must nut violate .f-`edeml.' slate.» ofr local law while on rclea$,€.

(2) 'I?In: defendant must cooperate in the collection ol`a DNA sample if'it is<'authorized by 42 U.S‘C~' § '141~3531

(3) The defendant musi advise the court or the pretrial services office or supervising officer in writing before making

(4)

any change of residence nr' telephnne number.
The defendant must appear in conn as required and‘ if convictch must surrender as directed to serve a sentence that
the court may impos'e.»

as'direc!ed

The defendant must appear ncr .
I"Im‘¢<'

on
luna-and Tim.¢'

If'blank,. defendant will be notified o't`nc.»\:r nppcarancc.

The defendant must sign an Appearance BnncL if ordered

 

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2 ol‘ 3 pages

 

 

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At) |‘J¢iB (Rc_i'. i,‘l,l l) .'\dditional>'(‘ot)diii`im~‘ i»i'Relc:isc n n y b
ADD!T|ONAL COND!TIONS GF RELEASE
lT lS FURTHER URDER ED thin the dct't:ndani‘:i rclcn.~ic' is subject m ihe.cm\ditions marked helena
l ) (6) The defendant is plnc`¢il in the custody ol':
"""" ""`i‘¢\~ No¥"" ` " " ___ _ _ __
the conn immediately

person or organization
Add!'es$' rizli(t‘ il where i.v; un `u)'goiii:ulmm
(b)` usc c\'er'y t`:l'l`ort mangum thc def`en¢lziiii`ii nppeiiroric¢iii ali court proceedings. and ici notify

(’i'iy and state
nn longer in the ciistmliztn‘;s' custody

who agrecs to»(;c)'.~w.ip'ervi.<e-the dél'cndimti
if this defendant violates a condition m°rcloase or is
C’nsir)ili'un pont

,

United States Pretrial/Prt)bation Services

The defendant itin.<t:
submit to supervision by and ropo'n for supervision to the

( X‘) (7)‘
m . ita litief'tliiin

{ X' l lui
telephone number __WMM_.___"_

( l (hl continue or actively seek employment
( ) (c»)' continue or=stiiri aii'cilucation program

( )» fill surrender any passport i,o; _ __ y __ _
(` nomhiain n passport or n‘r`lwr internationle travel document
l

l tel

) (f). abide by the following restrictions on pen<l)niil nssot'iinion, rositl¢n_i:c,»or ii'nvt:l:

l l (g,) aroid till contact directly or indirci:ily, with any person what in or may be ii victim or witness in the investigation or pros¢ctiiioi\.

including __ _____ ___ __ ____ _
,a's__dir_e_c’ted bv_, Uriite_d §_t

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l ) iii whim m.¢~l\sit)dy each l tit w o‘clti¢li;il‘terbcing released tit M_w
or the following pu.tni)ses: x ____ , __ , _ -- »
et_riiil sewiccs'oft`icc or supervising officer considers

" o*c\tit:ii i‘i§§`éiiipi£i§ii§éiii, sett§§i'ii{g.'/ '

   

get medical or itsychiiiiiic trentinciiii

f ) U~l' maintain residence iii ii halfway house or community corrections ccnti':r, un,ihc. pt
necessarye

t l (li) not possess ii tiretirin..tle.»ttriiciiv ' dcvicc. or other weapon
( .) ( l l not use alcohol ( )ii't- zi|l l l cxt;cs,<i\'cl)'.

nmi usc or unlawfully possess a narcotic drug or other controlled substances dctincd in Zl U.S.C., § 302, unless prescribed by a licensed

'm¢dicnl practitionciz
i`rcq.i'it:ncy'and may include urine tcsi:ing, the wciiring~ot` ii sweat pmcli. n remote alcohol testing sysicin, uni\for any form Qt" prohibited

( ) (m)
l l int submit limiting fora prohibited substance ifrcqiiirnd by`thi: pretrial services office or supervising oli`iccr. Tcistr'ingmay be used w_`itl'itaitilom
substance screening or testinig.. Tlic,dc.l"t:iiditiit must not obstruci, attempt to obstruct. or tamper with the efficiency an<l;iccumcy ot`prol\ibitcd

substance screening arresting
participate in ii program of inpatient or outpatient substance aliusc therapy and counseling if directed by the pretrial services office or

( l wl
supervising otiiccr,
i l fpl participate iii'nnc i)i'tl'ic. following location restriction programs iinil.coinply withi;ts'icqnir¢mcrits ns tlirecte<l_
l iii Ciirio“‘. Y't_in am rextrictt:tl iii your residence every tiny l ) front to , or l ') its

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tlirccictl by‘ this pretrial services office or summitin oiticer;’ ot
) int Ho nw Dett\ittion. Yoti are restricted toyoiir resitleticozit all timos except i`or employing-nn tidttcation; religious scrvic¢s; ntedica\.

substance abtisc, or mental health ircatmen.t; attorney 'visiis: court appearances court-ordered obligations; or other activitie$

(
m _ approved in advance by the pretrial survives office or supervising officers or
l tliii) vHontt~ lncat'ccrn'timi-. `i'~oii ariz t‘c.»:irit:wi'l to 24-lititit'-it~dtiy lock-down iii your residence execpi for medical necessities and
l 4 court iipp¢'in'-.ini;cs or 01 her iit~riviiiés. specifically approved by the court '
l lql submit to location monitoring its tlii'c't"tctl by tito pit`n~tri'iil,xcrviccs office or supervising nffict.‘rzmtl comply with all nl'tlic program

requirements and instructions prot:itlctl_

'( lYG'u lliiiiir' pziy'_all or part of the cost oi` tito program based nn your ability to pay as deremiincd by the pretrial services oi't`ice or
supervising olii¢:cr, l

X ) {r) report as soon as ptissiblc. in ihc~~ pretrial services office or supervising oll't<:,er., avery contact with law enforcement personnel including

§irrcsts. questioning .or itzti"lii; siops.
ijnay possess computer as long as monitoring §p.itware is /in$talie*d; may tise cell phone that is riot connected to

x _) lsi §
maintein ____

 

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Ptigt:

    

1\() 1.1)9(‘- (R¢,~v. 09!‘0>;) Advit'c ni~p¢n:\ltics » ryr""” { `
'ADVlCE OF PENALT!ES AND SAi\CTIONS

TO THE Dh`l-`ENDAN'|‘.
l*‘Ol.l.UWlNG i’l~iNAl.’l`|l€S A`-NI,) SA_NC`T¥ONS:
ncc of a warrant for your arrest, n

YOU I\»Rl".` AIJV|SED (")F 'I'| ll‘.'
for contempt of court and could result in

Vidlttl'ing tiny nt`th¢ foregoing conditions of release may result in thc nrtmt:tlttttr:v tsi':uu
revocation of iiqu relcttsc. tm order ni'dt:lcmion. tt forfeiture cf tiny bond. and n prosecution
gi l`t:d,t:ru| I"t':li)ny offense lltt: punishment is tut additional prison tcr
hinctu_ is nn additional prison term uf nut marc than one

imprisoumcm' n mm or both ' m ut`nut' inure tham `wtt years
Wh-'iic on relcitst:, if_vt>u cutt'unit l mr Tms wman wm bd
;itnd i`t)ra federal misdemeanor offense thc pants y ¢ 1 » ,
cunstrcut,ivc,(i.v., in addition tul it`>: any t)tltt:r sentuncc`yutt
lt is a _criinc punishable by up m inn years in prison b w y n
tamper witl'in witncss, victim or informunt;,.r¢tnlintent attempt to retaliate agttinst a witness, _ b 1a .r 3
to intimidate a witness‘. victim,'jurur, infunnnnt, or officer ni' the court l he penalties for tampering ,rcta initon,
significantly nunc serious ii"l`hc_v involve n killing or attempted killing v _ v ) f j l g
lf`, utter rtz‘le:\s¢x you knowingly fail to appear as the conditions ot reldasc rcquire, or tt)_ surrender tu acrvt. a ventvnc(§:, F
you may bd prosecuted `t`t)r failing to appear or surrender and additional punishment may bc inipt)s,c,,d. lf` you tire .convictc _o . `
’ 'mprisunmcnt f`or n term ot fifteen years or more - you will be titled

rcccivt:. l ' _ ' v l
and n 5250,00{!{11\¢. or bolh, ln:' obstruct at criminal mvestig_auon: 3
victim, ttr informant nr intimidate or attempt

or intimidation nrc

( l) an offense punishtil)lé try dcttth,_ life impristmmcnt. ott b
not more than $"25!).(}0() or imprisoned for nut more limit ill ycars. ur bollt; ' , ` y

(2) an offense punisltzihlir by imprisonment for n ti:rm tri` live years ur\'\more_ but less than fifteen years ~ you will be fined not
more than 3250.0¢)0 tit imprisoned fur nut more than live ';t_t'¢;*tini4 fur bullt;

l3) any other felony ~» you will lie fined nut more than 5250.000 ur imprisoned not inure than two years, or both;

(4) a misdemeanor ~ you will bd fined not more than ~$1`00.00_0 or imprisoned not more than one yeah or both. _

A term of imprisonment imposed for failure to appcnr=o'r surrender will be consecutive to any other sentence you recet\'t:. lti

additit)n. a failure in appear or surrender may result in the forfeiture of»rt.ity‘ bond pustc`d.
Ackuou'lerlgment of t_lte Defendant

l acknowledge that l am the defendant in this case and that l am aware of’the cunditionsvof`relense. I promise to obey all conditions
t)fr¢:_lettst:,v m appear ns dlit:ctt:d. and surrcndct’tu serve any sentence imposed lam aware of tim penalties and sanctions set forth nboyt_:.

 

l)ej{'em!atn '.\' Sigrmmr¢»

A'b*uqu@rqve'n¢w.Meti<zQ/_L=>s A,~M,i" CP¢

city amf §tate l

Directions to the United States Mt\t‘sh'al

( ‘/ l Thi: defendant is ORDERED rclc_nscd utter processing
) The Unit¢d S't:ttcs marshal is CJKDERED` itt keep the defendant in custody until notified by the clerk »orjud'ge' iii-int the defendant
li still itt custody, the defendant must be pt*uduced before

l
has period hutul zntdrt)r ctnnpliud with all other conditions ii)r`rclettsc,
tlie-ztpproprinl¢,ludgc tit tltt: tim ` and place specified

D'ate: 4126/2018 3 j " ll l

    

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lllllTlfL\ mint i)i+i~.i\ii.»\txr Pitl¢'riti/\l.st"ttvn"t-: lr_s<_,\"`rrttittti¢tr tl<'i M*\R§ltf\t

 

